322 F.2d 479
    Lee H. TYLER and R. E. Crews, Appellants,v.The SUPERIOR OIL COMPANY, a California corporation,Ambassador Oil Corporation, a Delawarecorporation, and Apache Corporation, aDelaware corporation, Appellees.
    No. 7320.
    United States Court of Appeals Tenth Circuit.
    Oct. 1, 1963.
    
      Before LEWIS, HILL and SETH, Circuit Judges.
      Per Curiam.
    
    
      1
      This is a companion case to Crews Oil Company v. Superior Oil Company, 10 Cir., 319 F.2d 532, the  only          factual difference being that appellants here are royalty owners and present an additional legal issue by attacking          the applicable Oklahoma statutes and the order of the Oklahoma Corporation Commission as unconstitutionally          impairing the obligations of a contract in violation of Article I, Sec. 10, and the Fourteenth Amendment to the          United States Constitution and Article II, Sec. 15, and Article II, Sec. 7, of the Oklahoma Constitution. We find          nothing in the case that suggests a federal constitutional question or brings the issue beyond the scope of          Anderson v. Corporation Commission, Okl., 327 P.2d 699, dismissed for want of a federal question. 358 U.S. 642, 79 S. Ct. 536, 3 L. Ed. 2d 567. The judgment is affirmed upon the authority of Crews Oil Company v. Superior Oil Company, 10 Cir., 319 F.2d  532, and cases cited therein.
    
    